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Attorneys for Plaintiffs

                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA
KLOOSTERBOER INTERNATIONAL             )
FORWARDING LLC and ALASKA              )
REEFER MANAGEMENT LLC,                 )
                                       )
              Plaintiffs,              )
                                       )
        vs.                            )
                                       )    Case No.: 3:21-cv-00198-SLG
UNITED STATES OF AMERICA,              )
U.S. DEPARTMENT OF HOMELAND )
SECURITY, U.S. CUSTOMS AND             )
BORDER PROTECTION, and TROY A. )
MILLER, U.S. Customs and Border        )
Protection Acting Commissioner, in his )
official capacity,                     )
                                       )
              Defendants.              )
                                       )
                                       )




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                      DECLARATION OF MICHAEL K. TOMENGA

      Pursuant to 28 U.S.C. § 1746, I, Michael K. Tomenga, declare as follows:

   1. I am an attorney licensed to practice law in the District of Columbia since 1978.

   2. From 1978 to 1984, I was employed as an attorney in the Office of Regulations and Rulings

      (OR&R) of the U.S. Customs Service, now called Regulations & Rulings and U.S.

      Customs and Border Protection (Customs), respectively.

   3. During my employment with OR&R, I worked in the Carriers, Drawback & Bonds Branch;

      the Tariff Classification Branch; and the Penalties Branch.

   4. I am a member of the law firm Neville Peterson LLP and practice in its Washington, DC

      office.

   5. I have personal knowledge of the facts set forth in this declaration.

   6. On October 1, 2021, on behalf of Kloosterboer International Forwarding LLC, and in

      accordance with 19 U.S.C. § 1618 and 19 C.F.R. Part 171, I submitted a Petition for relief

      against Customs penalty claims asserted in Jonesport Penalty Case Nos. 2021-0122-

      300235-01, 2021-0122-300301-01, and 2021-0122-300303-01. In accordance with our

      standard practice acceptable to Customs during the COVID pandemic and since the anthrax

      assault via U.S. Postal Service mail on officials in Washington DC in 2001, I filed a

      portable document format of the Petition and Exhibits by electronic mail (“email”) and sent

      a hard copy by FedEx to the Customs Fines, Penalties and Forfeitures Officer in Portland,

      Maine (“Portland FP&F Officer”).

   7. I sent courtesy copies of the Petition and Exhibits by email to the Portland FP&F Officer’s

      supervisory officials, the Chief, Penalties Branch and the Director, Border Security and

      Trade Compliance Division, at Customs Headquarters.                In addition, upon the



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